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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION,

                       Plaintiff,                     1:23-cv-04738-KPF
             v.

COINBASE, INC., AND COINBASE GLOBAL,
INC.,

                       Defendants.


   NOTICE OF WITHDRAWAL OF COUNSEL PURSUANT TO LOCAL RULE 1.4

        PLEASE TAKE NOTICE that attorney Michael R. Dreeben is hereby withdrawn as

 counsel of record in the above-captioned matter for amici curiae AH Capital Management,

 L.L.C. and Paradigm Operations LP. In support of this notice and in conformance with

 Local Rule 1.4, the undersigned counsel states the following:

                  1.     Mr. Dreeben has left the law firm of O’Melveny & Myers LLP,

        effective December 8, 2023, and no longer represents AH Capital Management,

        L.L.C. and Paradigm Operations LP in this matter.

                  2.     O’Melveny & Myers LLP continues to be counsel of record in this

        matter for AH Capital Management, L.L.C. and Paradigm Operations LP and the

        undersigned attorneys maintain their appearances.

                  3.     There is no retaining or charging lien, and no party will suffer

        any prejudice or delay by Mr. Dreeben’s withdrawal from this litigation.
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DATED: December 15, 2023
       Washington, DC               Respectfully submitted,

                                    O’MELVENY & MYERS LLP


                                    By: /s/ William K. Pao

                                    O’MELVENY & MYERS LLP
                                    William K. Pao (pro hac vice)
                                    400 South Hope Street
                                    Los Angeles, CA 90071
                                    Telephone: (213) 430-7272
                                    Facsimile: (213) 430-6407
                                    wpao@omm.com

                                    Melissa C. Cassel (pro hac vice)
                                    Two Embarcadero Center, 28th Floor
                                    San Francisco, CA 94111-3823
                                    Telephone: (415) 984-8839
                                    Facsimile: (415) 984-8701
                                    mcassel@omm.com

                                    Andrew R. Hellman (pro hac vice)
                                    1625 Eye Street, N.W.
                                    Washington, D.C. 20006
                                    Telephone: (202) 383-5300
                                    Facsimile: (202) 383-5414
                                    andrewhellman@omm.com

                                    Attorneys for AH Capital Management, L.L.C.
                                    and Paradigm Operations LP




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